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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:06-cr-00038-MP-AK

JOHN MICHAEL LOWRY,

      Defendant.
___________________________/

                                        ORDER

       This matter is before the Court on Doc. 193, Motion to Continue Sentencing by John

Michael Lowry. The motion is granted, and sentencing is hereby reset for November 30, 2007,

at 10:30 a.m.

       DONE AND ORDERED this 17th day of October, 2007




                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge
